                                                                                          22-40440-JJR13
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - EASTERN DIVISION

  In the Matter of:
   Michael E Cross                           }      Case No: 22-40440-JJR13
   SSN: XXX-XX-8881                          }
      DEBTOR(S).                             }
                                             }
                                             }

                                    ORDER GRANTING
This matter came before the Court on Thursday, June 15, 2023 10:15 AM, for a hearing on the
following:
     RE: Doc #49; Trustee's Amended Motion to Approve Compromise between the Debtor and
     Wright Medical Technology, Inc. and Microport Orthopedics, Inc.
Proper notice of the hearing was given and appearances were made by the following:
     John W Jennings Jr., attorney for Michael E Cross (Debtor)
     Linda Baker Gore (Trustee)


It is therefore ORDERED, ADJUDGED and DECREED that:

   For the reasons stated on the record, the Motion to Approve Compromise is GRANTED and
   the Compromise is APPROVED.

   The terms of the settlement agreement/compromise are incorporated herein by reference as
   though fully set forth, and the court retains jurisdiction to interpret and enforce the settlement
   agreement/compromise.




Dated: 06/15/2023                                       /s/ JAMES J. ROBINSON
                                                        JAMES J. ROBINSON
                                                        United States Bankruptcy Judge




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